Case 8:04-cr-00235-DKC Document 1298 Filed 06/17/09 Page 1of1

off
Yih Spl Diobuet Oat JUN 1% 2009
Ve LPpt Sek BSS BE Us ang

emetic

ywhelo b Jofy ou. Ze copy of oof, Haid (ype
Waker dex! fy 9p: 37 AN nat Whur -b255-
lanl’ Up's Lyurt OF -4//5 "Vane. bitin ale,
ke titi Atlal-r fy Cast Ayo
(Fiaey Dusilog bein sdarthornd g Ve ypeks
Lous CP ELEC (The paves Cotds— i
he re onl ? Medlin “typed 07 Sebo
us A. Vo. Compal
AMoief hee fe b Che aah LIL Cyeead-

Hegel
LD Ca bbe. F560 087

La Vow 5 an 39 360-037
SVL - HAZ, (72 -03L_)
Afb. JOO
Fhicee Ln WM

LOSPRS

